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                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                           CASE NO.:

   RICHARD CHRISTOPHER JOHNSON,

                     Plaintiff,

      v.

   CITY OF MIAMI BEACH, CHRISTOPHER
   AGUILA, in his individual capacity, JUAN
   BALCIERO, in his individual capacity, ROGER
   GAITAN, in his individual capacity, and
   EUGENIO ABAY, in his individual capacity,
               Defendants.
   ____________________________________/

                                                VERIFIED COMPLAINT

           COMES NOW, Plaintiff, RICHARD CHRISTOPHER JOHNSON (“Mr. Johnson”), and

  sues     Defendants,        CITY        OF      MIAMI         BEACH,          CHRISTOPHER               AGUILA,           JUAN

  BALCIERO, ROGER GAITAN, and EUGENIO ABAY, and as grounds therefore, alleges as

  follows:

                                                     INTRODUCTION

           1.        This is a civil rights action on behalf of Mr. Johnson whose rights under the Fourth

  Amendment to the United States Constitution were violated when he was illegally seized by City

  of Miami Beach police officers. Defendant police officers planted drugs on Mr. Johnson, battered

  Mr. Johnson by way of excessive force, and falsely arrested and imprisoned him, causing him to

  be wrongfully detained for months as a result of a malicious prosecution that they caused.

           2.        Mr. Johnson seeks redress for the violations of his rights, privileges, and immunities

  as guaranteed by the Civil Rights Act of 1871, 42 U.S.C §1983, Section 1981 of the Civil Rights

  Act of 1866, 42 U.S.C. § 1981, et seq., as amended, the Fourth Amendment to the United States

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  Constitution, and the laws of the State of Florida.

                                                JURISDICTION AND VENUE

          3.        Jurisdiction is founded upon 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343 (a)(3) and

  (4), as this action seeks redress for the violation of Plaintiff’s Constitutional and Civil Rights.

          4.        Supplemental jurisdiction, and joinder of parties for additional state law claims is

  proper pursuant to 28 U.S.C. §1367(a) because they form part of the same case or controversy.

  Plaintiff asserts multiple state tort law claims.

          5.        Venue is properly brought in the Southern District of Florida under 28 U.S.C.

  1391(b) because it is the district in which all of the events or omissions establishing the Plaintiff’s

  claims occurred.

          6.        All conditions precedent to the maintenance of this action have been performed or

  have occurred prior to its institution including those set forth in Florida Statute Chapter 768.

                                                          PARTIES

          7.        At all times material hereto, Mr. Johnson, was and is a resident of Miami-Dade

  County, Florida, of African American descent, and sui juris.

          8.        Defendant, The City of Miami Beach (the “City”), is a municipality duly

  incorporated and existing under the laws of the State of Florida. The City established and maintains

  the Miami Beach Police Department (“MBPD”), as a constituent department or agency. The City

  is responsible, through its officers, employees, servants, and agents, for enforcing the regulations

  of the City and for ensuring that its officers, employees, servants, and agents obey the laws of the

  State of Florida and the United States.

          9.        The City had a pattern and practice and/or custom and policy of police misconduct,

  failing to properly train and supervise their officers, negligently hiring and retaining officers, and


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  using excessive force against citizens, specifically those of African American Descent.

         10.       Defendant, CHRISTOPHER AGUILA (“Aguila”) is or was, at all times material

  hereto, an employee of the City employed as a police officer with MBPD (#01048). Upon

  information and belief, Aguila is a resident of Miami-Dade County, Florida, is over eighteen (18)

  years of age and is otherwise sui juris. At all times material hereto, Aguila was an employee and

  a sworn law enforcement officer of MBPD and is being sued in his individual capacity. At all times

  material hereto Aguila was acting as an agent and employee of the City and was acting under the

  color of state law.

         11.       Defendant, JUAN BALCIERO (“Balciero”) is or was, at all times material hereto,

  an employee of the City employed as a detective with MBPD (#00873). Upon information and

  belief, Balciero is a resident of Miami-Dade County, Florida, is over eighteen (18) years of age

  and is otherwise sui juris. At all times material hereto, Balciero was an employee and a sworn law

  enforcement officer of MBPD and is being sued in his individual capacity. At all times material

  hereto Balciero was acting as an agent and employee of the City and was acting under the color of

  state law.

         12.       Defendant, ROGER GAITAN (“Gaitan”) is or was, at all times material hereto, an

  employee of the City employed as a detective with MBPD (#01025). Upon information and belief,

  Gaitan is a resident of Miami-Dade County, Florida, is over eighteen (18) years of age and is

  otherwise sui juris. At all times material hereto, Gaitan was an employee and a sworn law

  enforcement officer of MBPD and is being sued in his individual capacity. At all times material

  hereto Gaitan was acting as an agent and employee of the City and was acting under the color of

  state law.

         13.       Defendant, EUGENIO ABAY (“Abay”) is or was, at all times material hereto, an


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  employee of the City employed as a police officer with MBPD (#01111). Upon information and

  belief, Abay is a resident of Miami-Dade County, Florida, is over eighteen (18) years of age and

  is otherwise sui juris. At all times material hereto, Abay was an employee and a sworn law

  enforcement officer of MBPD and is being sued in his individual capacity. At all times material

  hereto Abay was acting as an agent and employee of the City and was acting under the color of

  state law.

         14.       In connection with the acts, practices and violations alleged below, Aguila,

  Balciero, Gaitan and Abay, have each, acting within the course and scope of their employment for

  the City and under color of law, directly violated Mr. Johnson’s clearly established constitutional

  rights, as well as statutory and common law duties owed to Mr. Johnson.

                           BACKGROUND AND GENERAL ALLEGATIONS

         15.       Mr. Johnson provides in this Background and General Allegations section the

  general substance of certain factual allegations. Mr. Johnson does not intend that this section

  provide in exact detail, or necessarily in chronological order, any or all allegations. Rather, Mr.

  Johnson intends that this section merely provide Defendants fair notice of the general nature and

  substance of his allegations.

         16.       On March 24, 2017, Mr. Johnson, who was enjoying what should have been a

  romantic weekend with his girlfriend, visited a local Miami Beach business. During his approach

  to the business, Mr. Johnson sensed that he was being watched and followed by two men. Feeling

  an overwhelming sense that he was about to be robbed, Mr. Johnson attempted to evade his

  pursuers, even seeking temporary refuge in a friend’s home.

         17.       Soon thereafter, when Mr. Johnson continued on his way to the business, the two

  men—who had apparently waited while Mr. Johnson was in his friend’s home—approached Mr.


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  Johnson and asked if he had any “white” on him. Mr. Johnson, familiar with the term “white” as

  street slang for the drug cocaine, immediately responded in the negative and attempted to briskly

  walk away.

         18.       Mr. Johnson then proceeded to enter the store “Aladdin,” which is located at 857

  Washington Avenue, Miami Beach, Florida. Moments after entering Aladdin, Mr. Johnson was

  attacked without reason by a group of men.

         19.       Mr. Johnson would come to learn that these attackers were in fact officers of

  MBPD’s Crime Suppression Team (“CST”), who had come to arrest him for an alleged drug sale

  to the two men who were undercover MBPD officers, Balciero, and Gaitan.

         20.       During the attack, Mr. Johnson was violently thrown against the store’s counter,

  breaking the store’s merchandise. Officers aggressively pulled Mr. Johnson’s hands behind his

  back while he was being attacked and attempting to stabilize himself. During this arrest, and

  despite being certain he had done nothing wrong, Mr. Johnson repeatedly asked the officers why

  he was being arrested.

         21.       The men who had approached Mr. Johnson for “white” were in reality undercover

  MBPD officers Balciero and Gaitan. These officers alleged that Mr. Johnson sold them cocaine

  and that he was in possession of “marked bread,” referring to $80.00 in marked bills. Mr. Johnson

  believes that while the officers were aggressively slamming him into Aladdin’s counter, they

  inserted the “marked bread” on his persons and Balciero and Gaitan had in their possession a bag

  they claimed they purchased from Mr. Johnson.

         22.       Mr. Johnson was then transported to the MBPD and instructed to enter one of their

  holding cells. Confused as to why he had been arrested, Mr. Johnson repeated asked the officers

  the reasons leading to his arrest. Despite there being more than five officers present at this time,


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  Mr. Johnson did not receive a single response.

         23.       In an attempt to humiliate Mr. Johnson, who had been thoroughly searched at the

  scene of his arrest, the officers instructed and forced Mr. Johnson to remove his shoes. The officers

  then began circling Mr. Johnson—similar to predators circling their prey—and continued to

  instruct him to enter the holding cell. Mr. Johnson’s fear for his safety and his freedom grew

  exponentially and he naturally continued to question the purpose of his arrest.

         24.       As Mr. Johnson walked towards the cell in an effort to comply with the officers’

  request, a big, bald officer roughly pushed him into the cell. Mr. Johnson had now complied with

  the requests of the officers and had yet to receive a single response to his several pleas. However,

  this was not enough for Aguila.

         25.       Footage from body cameras worn by the officers shows that after he was already in

  the holding cell, Aguila proceeded to forcefully elbow Mr. Johnson in the face. The strike was so

  hard that Mr. Johnson stumbled and collapsed on the floor, landing unconscious. While Mr.

  Johnson was unconscious, the officers deceptively yelled “stop resisting” to justify their preceding

  and forthcoming actions. Abay, unprovoked and unnecessarily, punched Mr. Johnson with such

  force that it brought him back to consciousness.

         26.       Mr. Johnson awoke to find that he was restrained on the floor with a third officer

  sitting on top of him restricting his movements. This officer was aggressively pinning down Mr.

  Johnson’s arms as he sat on top of him. Mr. Johnson was dazed, confused, and clearly unable to

  move. However, this did not stop the officers from continuing to yell “stop resisting.” As can be

  seen via body cam footage, statements made by the officers in their reports are contradictory to

  the footage.

         27.       Following this assault, Mr. Johnson was forced to stand up and walk to another part


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  of the precinct. Mr. John was in absolute horror and confusion as to why he had been arrested as

  he had yet to receive a response to his questions. As the officers feigned empathy and requested

  medical assistance for injuries they themselves caused Mr. Johnson, Mr. Johnson demanded to

  know which officers assaulted him. Detective Aguila proudly boasted that he was the one who

  initially assaulted Mr. Johnson, explaining that he hit Mr. Johnson because he was “disrespectful”

  and that he doesn’t “listen.”

         28.       As a result of the officers’ actions, Mr. Johnson suffered and continues to suffer

  countless injuries.

         29.       Despite the overwhelming video, audio, paper, and testimonial evidence, the

  officers, specifically Detectives Aguila and Abay, continued to be employed by the City.

         30.       Mr. Johnson was in jail for many months as a result of the false arrest and malicious

  prosecution.

         31.       Mr. Johnson was charged under criminal case number F-17-005772.

                                                 COUNT I
                                    Fourth Amendment - 42 U.S.C. §1983
                                   Against Defendants, Balciero, and Gaitan

         32.       Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

         33.       At all times material hereto, Mr. Johnson had a constitutionally protected right to

  be free from unreasonable searches and seizures or from being subjected to a seizure or arrest

  without probable cause and maintained the right to be free from unlawful assault, protected rights

  under the Fourth and Fourteenth Amendments of the United States Constitution.

         34.       On March 24, 2017, Defendants, Balciero, and Gaitan, unlawfully detained and

  deprived Mr. Johnson of his liberty, against his will and without legal authority to do so.

         35.       At no time did Defendants, Balciero, and Gaitan have any reasonable or articulable


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  suspicion or probable cause which would support a constitutional seizure or arrest of Mr. Johnson.

         36.       On March 24, 2017, notwithstanding having no reasonable or articulable suspicion,

  and without probable cause, Balciero, and Gaitan caused Mr. Johnson to be detained, arrested and

  searched, all in violation of clearly established law.

         37.       At all material times, any reasonably competent officer having a reasonable degree

  of training and expertise should have known that there was no constitutional or legally justifiable

  basis to arrest Mr. Johnson.

         38.       At all material times, it was a clearly established violation of Mr. Johnson’s

  constitutional right to be free from unreasonable searches and seizures to be subjected to a search

  and arrest, when no reasonable or articulable suspicion or probable cause of any criminal activity

  existed to seize or arrest Mr. Johnson.

         39.       At all material times, Balciero, and Gaitan, in arresting Mr. Johnson concealed,

  suppressed, omitted and mischaracterized material facts/evidence and statements of which they

  had knowledge, in violation of Mr. Johnson’s rights of due process.

         40.       At all material times, Balciero, and Gaitan did knowingly, or with reckless

  disregard for the truth, prepare, caused to be prepared, or participated in the preparation of an

  intentionally false and misleading report to support their unconstitutional arrest and search of Mr.

  Johnson.

         41.       At all material times, any reasonably competent law enforcement officer with

  adequate training should have known that the actions being taken in regards to the arrest and search

  of Mr. Johnson were improper, unconstitutional, and likely to result in the violation of the

  constitutional rights of Mr. Johnson.

         42.       On March 24, 2017, Defendants, Aguila, and Abay intended to cause, and did


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  cause, offensive contact and unconsented touching of the body of Mr. Johnson, while acting under

  the color of law.

            43.     At all material times, it would have been readily apparent to a reasonably competent

  and trained police officer, having due regard for DUQUESNE’s constitutional rights, that the use

  of physical force employed against DUQUESNE, without him offering any physical threat or

  resistance, was unjustified and was in violation of clearly established law and DUQUESNE’s

  constitutional rights.

            44.     Defendants’ acts violated Mr. Johnson’s clearly established Fourth Amendment

  rights, and every reasonable police officer would have understood that what he did violated those

  rights.

            45.     As a direct and proximate result of the false imprisonment, assault, and battery,

  Mr. Johnson has suffered pain and suffering, mental anguish, emotional distress, and loss of

  capacity for the enjoyment of life.

            WHEREFORE Plaintiff, Mr. Johnson, seeks entry of final judgment against Defendants

  for compensatory and punitive damages, as well as, costs, and attorney fees and such other relief

  that the Court deems just and proper.

                                                   COUNT II
                                      Fourth Amendment - 42 U.S.C. §1983
                                      Against Defendants, Aguila, and Abay

            46.     Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

            47.     At all times material hereto, Mr. Johnson had a constitutionally protected right to

  be free from the use of excessive force without justification.

            48.     On March 24, 2017, Defendants, Aguila and Abay intended to cause, and did cause,

  offensive contact and unconsented touching of the body of Mr. Johnson, while acting under the


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  color of law.

         49.       Aguila and Abay punched Mr. Johnson for no reason.

         50.       At all material times, it would have been readily apparent to a reasonably competent

  officer, having due regard for Mr. Johnson’s constitutional rights, that the use of physical force

  employed against Mr. Johnson, who was merely verbally expressing criticism, without offering

  any physical threat or resistance, was unjustified and was in violation of clearly established law.

  At all material times, any reasonably competent officer having a reasonable degree of training and

  expertise, should have known that there was no constitutional or legally justifiable basis to use

  excessive force against Mr. Johnson.

         51.       At no time did Defendants, Aguila and Abay have any reasonable or articulable

  suspicion or probable cause which would support a constitutional seizure or battery of Mr.

  Johnson.

         52.       At all material times, Aguila and Abay, in punching Mr. Johnson concealed,

  suppressed, omitted and mischaracterized material facts/evidence and statements of which they

  had knowledge, in violation of Mr. Johnson’s rights of due process.

         53.       At all material times, Aguila and Abay did knowingly, or with reckless disregard

  for the truth, prepare, caused to be prepared, or participated in the preparation of an intentionally

  false and misleading report to support their unconstitutional beating of Mr. Johnson.

         54.       At all material times, any reasonably competent law enforcement officer with

  adequate training should have known that the actions being taken in regards to the use of excessive

  force against Mr. Johnson were improper, unconstitutional, and likely to result in the violation of

  the constitutional rights of Mr. Johnson.

         55.       Defendants’ acts violated Mr. Johnson’s clearly established Fourth Amendment


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  rights, and every reasonable police officer would have understood that what he did violated those

  rights.

            56.       As a direct and proximate result of the wrongful conduct of Aguila and Abay, the

  constitutional rights of Mr. Johnson were violated and abridged, and he suffered emotional

  distress, public humiliation and embarrassment, damage to his good name and reputation, loss of

  personal liberty, and sustained other general damages.

            57.       As a direct and proximate result of the unlawful battery, Mr. Johnson has suffered

  pain and suffering, mental anguish, emotional distress, and loss of capacity for the enjoyment of

  life.

            WHEREFORE Plaintiff, Mr. Johnson, seeks entry of final judgment against Defendants

  for compensatory and punitive damages, as well as, costs, and attorney fees and such other relief

  that the Court deems just and proper.

                                                   COUNT III
                                                 42 U.S.C. §1983
                                    Against Defendant, the City of Miami Beach

            58.       Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

            59.       This is an action brought against the City pursuant to the United States Constitution

  Amendments IV and XIV in violation of 42 U.S.C. § 1983.

            60.       Prior to March 24, 2017, The City developed and maintained policies or customs

  exhibiting deliberate indifference to the constitutional rights of persons in the community, which

  caused the violation of Mr. Johnson’s constitutional rights.

            61.       The City maintained a policy and/or custom of inadequately and improperly

  investigating citizen complaints of police misconduct and officers’ use of excessive force, and/or

  destroying evidence particularly in the form of cell phone cameras and said acts of misconduct


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  were tolerated and not reprimanded by the City. Thus, the City inadequately discouraged

  constitutional violations perpetrated by its law enforcement officers and ratified improper conduct

  and use of excessive force.

            62.       The City has a history of excessive force and Constitutional rights violations by

  their officers, and failed to discipline, correct the misconduct, or properly train and/or supervise

  officers; therefore, exhibiting deliberate indifference to the constitutional rights of persons in the

  community, specifically, Mr. Johnson whose constitutional rights were violated pursuant to the

  United States Constitution, and he was ultimately deprived of his bodily integrity.

            63.       As a result of the above-mentioned polices and customs, the City’s officers believed

  that their inappropriate actions would not be subject to proper monitoring by supervisors, and that

  misconduct would not be subject to investigation nor sanction but would instead be tolerated by

  the City.

            64.       The above facts denote a deliberate indifference on the part of the City policy

  makers and custom enforcers, to uphold the constitutional rights of citizens of the City, including

  Mr. Johnson, in particular, citizens’ right to be free from excessive force, which actually and

  proximately caused violations of Mr. Johnson’s constitutional rights guaranteed by the Fourth and

  Fourteenth Amendments to the United States Constitution.

            65.       Mr. Johnson has ongoing and continuous permanent damages and injuries and as

  such is entitled to recovery.

            66.       As a direct and proximate result of the unlawful battery, Mr. Johnson has suffered

  pain and suffering, mental anguish, emotional distress, and loss of capacity for the enjoyment of

  life.

            WHEREFORE Plaintiff, Mr. Johnson, seeks entry of final judgment against the City for


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  compensatory and punitive damages, as well as, costs, and attorney fees and such other relief that

  the Court deems just and proper

                                                  COUNT IV
                                       False Imprisonment – State Tort
                                     Against the City, Balciero, and Gaitan

         67.       Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

         68.       This is an action, under the common law of the State of Florida, for false arrest.

  Such claims arise from a common nucleus of operative facts as the violations of 42 U.S.C. § 1983,

  as set forth above.

         69.       On or about March 24, 2017, officers acting in the course and scope of their

  employment as a police officer for the City, and with malice, bad faith or wanton or willful

  disregard for the safety of Mr. Johnson’s well-being, planted or otherwise fabricated evidence on

  Mr. Johnson causing him to be falsely arrested and detained.

         70.       The officers unlawfully caused Mr. Johnson to be arrested, detained, and deprived

  Mr. Johnson of his liberty, against his will and without legal authority to do so, despite his desires

  to leave. The officers’ actions of causing Mr. Johnson to be arrested were unreasonable and

  unwarranted under the circumstances, and were against Mr. Johnson’s will, and without legal

  authority.

         71.       The City is responsible for the false arrest of Mr. Johnson in that the false arrest

  was intentional and was committed within the course and scope of the MBPD arresting officers’

  employment with MBPD, such that the doctrine of respondeat superior applies to this action.

  “Under Florida law, an employee acts within the scope of his employment ‘if his act is of the kind

  he is employed to perform, it occurs substantially within the time and space limits of employment

  and it is activated at least in part by a purpose to serve the master. Lozada v. Hobby Lobby Stores,


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  Inc., 702 Fed. Appx. 904, 909 (11th Cir. 2017)(internal citations omitted).

          72.       As a direct and proximate result of the false imprisonment, Mr. Johnson has

  suffered bodily injury, pain and suffering, mental anguish, loss of capacity for enjoyment of life,

  lost wages, and loss of ability to earn money. These injuries and losses are permanent and

  continuing, and Mr. Johnson will suffer such losses in the future.

          73.       Plaintiff has complied with all conditions precedent pursuant to Fla. Stat. 768.281

  prior to filing this action.

          WHEREFORE Plaintiff, Mr. Johnson, seeks entry of final judgment against Defendants,

  The City of Miami Beach, Juan Balciero, and Roger Gaitan for compensatory and punitive

  damages, as well as, costs, and such other relief that the Court deems just and proper.

                                                       COUNT V
                                                Civil Battery– State Tort
                                                 Against all Defendants

          74.       Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

          75.       This is an action, under the common law of the State of Florida, for battery. Such

  claims arise from a common nucleus of operative facts as the violations of 42 U.S.C. § 1983, as

  set forth above.

          76.       The conduct of Officers Aguila, Balciero, Gaitan, and Abay, on March 24, 2017, in

  illegally arresting Mr. Johnson, and employing excessive force to do so, was intentional and

  intended to cause a harmful or offensive contact with the person of Mr. Johnson.

          77.       The conduct of Officers Aguila, Balciero, Gaitan, and Abay was committed within



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   The “argument that bad faith is inherent in Plaintiff’s claim against the County for false arrest and imprisonment—
  and that the claim must therefore be dismissed under § 768.28(9)—is without merit. Vega v. Enamorado, 2007 WL
  9702731, at fn. 9 (S.D. Fla. 2007)(Ungaro, J.)



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  the course and scope of their employment with MBPD.

         78.       Defendant, the City, is responsible for the battery committed by Officers Aguila,

  Balciero, Gaitan, and Abay upon the person of Mr. Johnson, in that the civil battery was intentional

  and was committed within the course and scope of these officers’ employment with MBPD, such

  that the doctrine of respondeat superior applies to this action.

         79.       As a direct and proximate result of the battery alleged above, Mr. Johnson suffered

  bodily injury and resulted in pain and suffering, mental anguish, loss of capacity of enjoyment of

  life, lost wages and loss of ability to earn money. These injuries and losses are permanent and

  continuing, and Mr. JOHNSON will suffer such losses in the future.

         WHEREFORE, Plaintiff, Mr. Johnson, seeks entry of final judgment against Defendants,

  The City of Miami Beach, Officers Aguila, Balciero, Gaitan, and Abay for compensatory and

  punitive damages, as well as, costs, and such other relief that the Court deems just and proper.

                                                      COUNT VI
                                               Civil Battery– State Tort
                                               Against Aguila and Abay

         80.       Plaintiff hereby incorporates paragraphs 1 through 31 as if fully set forth herein.

         81.       This count is in the alternative as permitted under Fed. R. Civ. P. 8, and within the

  purview of McGhee v. Volusia County, 679 So. 2d 729 (Fla. 1996).

         82.       On or about March 24, 2017, Officers Aguila and Abay, with the intention of

  assaulting Mr. Johnson, did use excessive and unwarranted force against Mr. Johnson.

         83.       Officers Aguila and Abay’s actions of intentionally using excessive force against

  Mr. Johnson were unreasonable, unwarranted, without probable cause and without legal authority.

         84.       As a direct and proximate result of Officers Aguila and Abay’s excessive force, Mr.

  Johnson has suffered pain and suffering, mental anguish, emotional distress, and loss of capacity


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  for the enjoyment of life.

         WHEREFORE Plaintiff, Mr. Johnson, seeks entry of final judgment against Defendants,

  Aguila and Abay, for compensatory and punitive damages, as well as, costs, and attorney fees and

  such other relief that the Court deems just and proper.

                                                    VERIFICATION

         I, Richard Christopher Johnson have reviewed this Complaint. I have personal knowledge

  as to the facts concerning myself in the Complaint, and I know or believe them to be true. As to

  the allegations of which I do not have personal knowledge, I believe them to be true based on

  information and belief.




                                          DEMAND FOR JURY TRIAL

         Plaintiff, Mr. Johnson, hereby demands a trial by jury of all issues so triable.

                                                Respectfully Submitted,

                                                /s/ Yechezkel Rodal
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                                                Counsel for Plaintiff


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